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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF ILLINOIS


STEPHEN BAMBURAK and ETHEL
BAMBURAK                                                   Civil Action No.: 3:24-pq-1065

              Plaintiffs,
                                                           COMPLAINT FOR DAMAGES
    v.
                                                           DEMAND FOR JURY TRIAL
SYNGENTA AG; SYNGENTA CROP
PROTECTION, LLC; and CHEVRON U.S.A.
INC.

              Defendants.

         Stephen Bamburak (hereinafter “Plaintiff”), and Ethel Bamburak (collectively “Plaintiffs”),

complaining of Defendants SYNGENTA CROP PROTECTION LLC, SYNGENTA AG, and

CHEVRON U.S.A. INC., file this Complaint, and respectfully show as follows:

                                    I. SUMMARY OF THE CASE

         1.        Paraquat is a synthetic chemical compound1 that since the mid-1960s has been
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developed, registered, manufactured, distributed, sold for use, and used as an active ingredient in

herbicide products (“paraquat”) developed, registered, formulated, distributed, and sold for use in the

United States, including the State of New Jersey.

         2.        Defendants are companies and successors-in-interest to companies that

manufactured, distributed, and sold paraquat for use in New Jersey, acted in concert with others who

manufactured, distributed, and sold paraquat for use in New Jersey, sold and used paraquat in New

Jersey,or owned property in New Jersey where paraquat was used.

         3.        Plaintiff brings this suit against Defendants to recover damages for personal injuries

resulting from Plaintiff’s exposure to paraquat over many years in New Jersey.


1
 Paraquat dichloride (EPA Pesticide Chemical Code 061601) or paraquat methosulfate (EPA Pesticide Chemical Code
061602).
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                                            II. PARTIES

                A. Plaintiff

          4.      Plaintiff Stephen Bamburak is a citizen and resident of the State of New Jersey who

suffers from Parkinson’s disease (“PD”) caused by exposure to paraquat within the State of New

Jersey.

          5.      Plaintiff Ethel Bamburak is a New Jersey resident and is and was at all times relevant

the marital spouse of Plaintiff Stephen Bamburak.


                B. Defendants

          6.      Defendant Syngenta Crop Protection LLC (“SCPLLC”) is a Delaware company with

its principal place of business in Greensboro, North Carolina. SCPLLC is a wholly owned subsidiary

of Defendant Syngenta AG.

          7.      Defendant Syngenta AG (“SAG”) is a foreign corporation with its principal place of

business in Basel, Switzerland.

          8.      Defendant Chevron U.S.A., Inc. (“Chevron U.S.A.”) is a Pennsylvania corporation

with its principal place of business in San Ramon, California.

                               III. JURISDICTION AND VENUE

          9.      This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1332

because there is complete diversity of the Plaintiff and the Defendants and the matter in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs.

          10.     Venue is proper in this district under 28 U.S.C. §1391 because Defendants’ conduct

business in this District, are subject to jurisdiction in this district, and have sold, marketed, and or

distributed paraquat within this District at all times relevant to this suit, because a substantial partof

the acts or occurrences giving rise to this suit occurred within this District.

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       11.       Notwithstanding the previous paragraph, this Complaint is filed in the Southern

District of Illinois pursuant to the Court’s Order of June 10, 2021, allowing direct filing of actions.

However, it is not intended as a waiver of any rights relating to Lexecon, venue, or choice of law.To

the contrary, Plaintiffs expressly reserve any Lexecon rights or rights relating to venue or choiceof law.

               IV. ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

      A. Defendants and their predecessors.

               1. Syngenta Crop Protection LLC and Syngenta AG

       12.       In 1926, four British chemical companies merged to create the British company that

then was known as Imperial Chemical Industries Ltd. and ultimately was known as Imperial

Chemical Industries PLC (“ICI”).

         13.      In or about 1971, ICI created or acquired a wholly owned U.S. subsidiary organized

under the laws of the State of Delaware, which at various times was known as Atlas Chemical

Industries Inc., ICI North America Inc., ICI America Inc., and ICI United States Inc., and ultimately

was known as ICI Americas Inc. (collectively “ICI Americas”).

         14.     In or about 1992, ICI merged its pharmaceuticals, agrochemicals, and specialty

chemicals businesses, including the agrochemicals business it had operated at one time through a

wholly owned British subsidiary known as Plant Protection Ltd. and later as a division within ICI,into

a wholly owned British subsidiary known as ICI Bioscience Ltd.

         15.     In 1993, ICI demerged its pharmaceuticals, agrochemicals, and specialty chemicals

businesses, from which it created the Zeneca Group, with the British company Zeneca Group PLCas

its ultimate parent company.

         16.     As a result of ICI’s demerger and creation of the Zeneca Group, ICI Bioscience Ltd.

was demerged from ICI and merged into, renamed, or continued its business under the same or similar

ownership and management as Zeneca Ltd., a wholly owned British subsidiary of Zeneca Group

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PLC.

         17.     Before ICI’s demerger and creation of the Zeneca Group, ICI had a Central

Toxicology Laboratory that performed and hired others to perform health and safety studies that were

submitted to the U.S. Department of Agriculture (“USDA”) and the U.S. Environmental Protection

Agency (“EPA”) to secure and maintain the registration of paraquat and other pesticidesfor use in the

United States.

         18.     As a result of ICI’s demerger and creation of the Zeneca Group, ICI’s Central

Toxicology Laboratory became Zeneca Ltd.’s Central Toxicology Laboratory.

         19.     After ICI’s demerger and creation of the Zeneca Group, Zeneca Ltd.’s Central

Toxicology Laboratory continued to perform and hire others to perform health and safety studies that

were submitted to EPA to secure and maintain the registration of paraquat and other pesticidesfor use

in the United States.

         20.     As a result of ICI’s demerger and creation of the Zeneca Group, ICI Americas was

demerged from ICI and merged into, renamed, or continued its business under the same or similar

ownership and management as Zeneca, Inc. (“Zeneca”), a wholly owned subsidiary of Zeneca Group

PLC organized under the laws of the State of Delaware.

         21.     In 1996, the Swiss pharmaceutical and chemical companies Ciba-Geigy Ltd. and

Sandoz AG merged to create the Novartis Group, with the Swiss company Novartis AG as the

ultimate parent company.

         22.     As a result of the merger that created the Novartis Group, Ciba-Geigy Corporation,a

wholly owned subsidiary of Ciba-Geigy Ltd. organized under the laws of the State of New York,was

merged into or continued its business under the same or similar ownership and management as

Novartis Crop Protection, Inc. (“NCPI”), a wholly owned subsidiary of Novartis AG organized under

the laws of the State of Delaware.

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         23.    In 1999, the Swedish pharmaceutical company Astra AB merged with Zeneca Group

PLC to create the British company AstraZeneca PLC, of which Zeneca Ltd. and Zeneca were wholly

owned subsidiaries.

         24.    In 2000, Novartis AG and AstraZeneca PLC spun off and merged the Novartis

Group’s crop protection and seeds businesses and AstraZeneca’s agrochemicals business to createthe

Syngenta Group, a global group of companies focused solely on agribusiness, with Defendant

Syngenta AG (“SAG”) as the ultimate parent company.

         25.    As a result of the Novartis/AstraZeneca spinoff and merger that created theSyngenta

Group, Zeneca Ltd. was merged into, renamed, or continued its business under the sameor similar

ownership and management as Syngenta Ltd., a wholly owned British subsidiary of SAG.

         26.    As a result of the Novartis/AstraZeneca spinoff and merger that created theSyngenta

Group, Zeneca Ltd.’s Central Toxicology Laboratory became Syngenta Ltd.’s Central Toxicology

Laboratory.

         27.    Since the Novartis/AstraZeneca spinoff and merger that created the Syngenta Group,

Syngenta Ltd.’s Central Toxicology Laboratory has continued to perform and hire others to perform

health and safety studies for submission to the EPA to secure and maintain the registration of paraquat

and other pesticides for use in the United States.

         28.    As a result of the Novartis/AstraZeneca spinoff and merger that created theSyngenta

Group, NCPI and Zeneca were merged into and renamed, or continued to do their business under the

same or similar ownership and management, as Syngenta Crop Protection, Inc.(“SCPI”), a wholly

owned subsidiary of SAG organized under the laws of the State of Delaware.

         29.    In 2010, SCPI was converted into Defendant Syngenta Crop Protection LLC

(“SCPLLC”), a wholly owned subsidiary of SAG organized and existing under the laws of the State

of Delaware with its principal place of business in Greensboro, North Carolina.
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         30.   SAG is a successor in interest to the crop-protection business of its corporate

predecessor Novartis AG.

         31.   SAG is a successor in interest to the crop-protection business of its corporate

predecessor AstraZeneca PLC.

         32.   SAG is a successor in interest to the crop-protection business of its corporate

predecessor Zeneca Group PLC.

         33.   SAG is a successor in interest to the crop-protection business of its corporate

predecessor Imperial Chemical Industries PLC, previously known as Imperial Chemical IndustriesLtd.

         34.   SAG is a successor in interest to the crop-protection business of its corporate

predecessor ICI Bioscience Ltd.

         35.   SAG is a successor in interest to the crop-protection business of its corporate

predecessor Plant Protection Ltd.

         36.   SCPLLC is a successor in interest to the crop-protection business of its corporate

predecessor SCPI.

         37.   SCPLLC is a successor in interest to the crop-protection business of its corporate

predecessor NCPI.

         38.   SCPLLC is a successor in interest to the crop-protection business of its corporate

predecessor Ciba-Geigy Corporation.

         39.   SCPLLC is a successor in interest to the crop-protection business of its corporate

predecessor Zeneca Inc.

         40.   SCPLLC is a successor by merger or continuation of business to its corporate

predecessor ICI Americas Inc., previously known as Atlas Chemical Industries Inc., ICI North

America Inc., ICI America Inc., and ICI United States Inc.

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         41.    SCPLLC does substantial business in the State of New Jersey, including the

following:

         a. markets, advertises, distributes, sells, and delivers paraquat and other pesticides to
            distributors, dealers, applicators, and farmers in the State of New Jersey;

         b. secures and maintains the registration of paraquat and other pesticides withthe EPA and
            the State of New Jersey to enable itself and others to manufacture, distribute, sell, and
            use these products in the State of New Jersey; and

         c. performs, hires others to perform, and funds or otherwise sponsors or otherwise funds
            the testing of pesticides in the State of New Jersey.

         42.    SAG is a foreign corporation organized and existing under the laws of Switzerland,

with its principal place of business in Basel, Switzerland.

         43.    SAG is a holding company that owns stock or other ownership interests, either

directly or indirectly, in other Syngenta Group companies, including SCPLLC.

         44.    SAG is a management holding company.

         45.    Syngenta Crop Protection AG (“SCPAG”), a Swiss corporation with its principal

place of business in Basel, Switzerland, is one of SAG’s direct, wholly owned subsidiaries.

         46.    SCPAG employs the global operational managers of production, distribution, and

marketing for the Syngenta Group’s Crop Protection (“CP”) and Seeds Divisions.

         47.    The Syngenta Group’s CP and Seeds Divisions are the business units through which

SAG manages its CP and Seeds product lines.

         48.    The Syngenta Group’s CP and Seeds Divisions are not and have never been

corporations or other legal entities.

         49.    SCP AG directly and wholly owns Syngenta International AG (“SIAG”).

         50.    SIAG is the “nerve center” through which SAG manages the entire Syngenta Group.

         51.    SIAG employs the “Heads” of the Syngenta Group’s CP and Seeds Divisions.

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            52.   SIAG also employs the “Heads” and senior staff of various global functions of the

Syngenta Group, including Human Resources, Corporate Affairs, Global Operations, Research and

Development, Legal and Taxes, and Finance.

            53.   Virtually all of the Syngenta Group’s global “Heads” and their senior staff are

housed in the same office space in Basel, Switzerland.

            54.   SAG is the indirect parent of SCPLLC through multiple layers of corporate

ownership:

         a. SAG directly and wholly owns Syngenta Participations AG;

         b. Syngenta Participations AG directly and wholly owns Seeds JV C.V.;

         c. Seeds JV C.V. directly and wholly owns Syngenta Corporation;

         d. Syngenta Corporation directly and wholly owns Syngenta Seeds, LLC;

         e. Syngenta Seeds, LLC directly and wholly owns SCPLLC.

            55.   Before SCPI was converted to SCPLLC, it was incorporated in Delaware, had its

principal place of business in North Carolina, and had its own board of directors.

            56.   SCPI’s sales accounted for more than 47% of the sales for the entire Syngenta

Group in 2019.

            57.   SAG has purposefully organized the Syngenta Group, including SCPLLC, in sucha

way as to attempt to evade the authority of courts in jurisdictions in which it does substantial

business.

            58.   Although the formal legal structure of the Syngenta Group is designed to suggest

otherwise, SAG in fact exercises an unusually high degree of control over its country-specific

business units, including SCPLLC, through a “matrix management” system of functional reportingto

global “Product Heads” in charge of the Syngenta Group’s unincorporated Crop Protection andSeeds

Divisions, and to global “Functional Heads” in charge of human resources, corporate affairs,global
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operations, research and development, legal and taxes, and finance.

         59.    The lines of authority and control within the Syngenta Group do not follow its formal

legal structure, but instead follow this global “functional” management structure.

         60.    SAG controls the actions of its far-flung subsidiaries, including SCPLLC, through

this global “functional” management structure.

         61.    SAG’s board of directors has established a Syngenta Executive Committee (“SEC”),

which is responsible for the active leadership and the operative management of the Syngenta Group,

including SPLLC.

         62.    The SEC consists of the CEO and various global Heads, which currently are:

        a. The Chief Executive Officer;

        b. Group General Counsel;

        c. The President of Global Crop Protection;

        d. The Chief Financial Officer;

        e. The President of Global Seeds; and

        f. The Head of Human Resources;

         63.    SIAG employs all of the members of the Executive Committee.

         64.    Global Syngenta Group corporate policies require SAG subsidiaries, including

SPLLC, to operate under the direction and control of the SEC and other unincorporated global

management teams.

         65.    SAG’s board of directors meets five to six times a year.

         66.    In contrast, SCPI’s board of directors rarely met, either in person or by telephone,

and met only a handful of times over the last decade before SCPI became SCPLLC.

         67.    Most, if not all, of the SCPI board’s formal actions, including selecting and removing

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SCPI officers, were taken by unanimous written consent pursuant to directions from theSEC or other

Syngenta Group global or regional managers that were delivered via e-mail to SCPIboard members.

         68.     Since SCPI became SCPLLC, decisions that are normally made by the board or

managers of SCPLLC in fact continue to be directed by the SEC or other Syngenta Group global or

regional managers.

         69.     Similarly, Syngenta Seeds, Inc.’s board of directors appointed and removed SCPI

board members at the direction of the SEC or other Syngenta Group global or regional managers.

         70.     Since SCPI became SCPLLC, the appointment and removal of the manager(s) of

SCPLLC continues to be directed by the SEC or other Syngenta Group global or regional managers.

         71.     The management structure of the Syngenta Group’s CP Division, of which SCPLLC

is a part, is not defined by legal, corporate relationships, but by functional reporting relationships that

disregard corporate boundaries.

         72.     Atop the CP Division is the CP Leadership Team (or another body with a different

name but substantially the same composition and functions), which includes the President of Global

Crop Protection, the CP region Heads (including SCPLLC President Vern Hawkins), and various

global corporate function Heads.

         73.     The CP Leadership Team meets bi-monthly to develop strategy for new products,

markets, and operational efficiencies and to monitor performance of the Syngenta Group’s

worldwide CP business.

         74.     Under the CP Leadership Team are regional leadership teams, including the North

America Regional Leadership Team (or another body with a different name but substantially the

same composition and functions), which oversees the Syngenta Croup’s U.S. and Canadian CP

business (and when previously known as the NAFTA Regional Leadership Team, also oversaw the

Syngenta Group’s Mexican CP business).
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         75.    The North America Regional Leadership Team is chaired by SCPLLC’s president

and includes employees of SCPLLC and the Syngenta Group’s Canadian CP company (and when

previously known as the NAFTA Regional Leadership Team, also included employees of the

Syngenta Group’s Mexican CP company).

         76.    The Syngenta Group’s U.S. and Canadian CP companies, including SCPLLC, report

to the North America Regional Leadership Team, which reports the CP Leadership Team, which

reports to the SEC, which reports to SAG’s board of directors.

         77.    Some members of the North America Regional Leadership Team, including some

SCPLLC employees, report or have in the past reported not to their nominal superiors within the

companies that employ them, but directly to the Syngenta Group’s global Heads.

         78.    Syngenta Group global Heads that supervise SCPLLC employees participate and

have in the past participated in the performance reviews of these employees and in setting their

compensation.

         79.    The Syngenta Group’s functional reporting lines have resulted in employees of

companies, including SCPLLC, reporting to officers of remote parent companies, officers of affiliates

with no corporate relationship other than through SAG, or officers of subsidiary companies.

         80.    SCPLLC performs its functions according to its role in the CP Division structure:

         a.     CP Division development projects are proposed at the global level, ranked and
                funded at the global level after input from functional entities such as the CP
                Leadership Team and the North America Regional Leadership Team, and given final
                approval by the SEC;

         b.     New CP products are developed by certain Syngenta Group companies or functional
                groups that manage and conduct research and development functions forthe entire CP
                Division;

         c.     These products are then tested by other Syngenta Group companies, including
                SCPLLC, under the direction and supervision of the SEC, the CP Leadership Team,
                or other Syngenta Group global managers;

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         d.      Syngenta Group companies, including SCPLLC, do not contract with or compensate
                 each other for this testing;

         e.      Rather, the cost of such testing is included in the testing companies’ operating
                 budgets, which are established and approved by the Syngenta Group’s global product
                 development managers and the SEC;

         f.      If a product shows promise based on this testing and the potential markets for the
                 product, either global or regional leaders (depending on whether the target market is
                 global or regional), not individual Syngenta Group companies such as SCPLLC,
                 decide whether to sell the product;

         g.      Decisions to sell the product must be approved by the SEC; and

         h.      The products that are sold all bear the same Syngenta trademark and logo.

         81.    SCPLLC is subject to additional oversight and control by Syngenta Group global

managers through a system of “reserved powers” established by SAG and applicable to all Syngenta

Group companies.

         82.    These “reserved powers” require Syngenta Croup companies to seek approval for

certain decisions from higher levels within the Syngenta Group’s functional reporting structure.

         83.    For example, although SAG permits Syngenta Croup companies to handle small

legal matters on their own, under the “reserved powers” system, SAG’s Board of Directors must

approve settlements of certain types of lawsuits against Syngenta Group companies, including

SCPLLC, if their value exceeds an amount specified in the “reserved powers.”

         84.    Similarly, the appointments of senior managers at SCPLLC must be approved by

higher levels than SCPLLC’s own management, board of directors, or even its direct legal owner.

         85.    Although SCPLLC takes the formal action necessary to appoint its own senior

managers, this formal action is in fact merely the rubber-stamping of decisions that have already been

made by the Syngenta Group’s global management.

         86.    Although SAG subsidiaries, including SCPLLC, pay lip service to legal formalities

that give the appearance of authority to act independently, in practice many of their acts are directedor
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pre-approved by the Syngenta Group’s global management.

         87.   SAG and the global management of the Syngenta Group restrict the authority of

SCPLLC to act independently in areas including:

        a. Product development;

        b. Product testing (among other things, SAG and the global management of the Syngenta
           Group require SCPLLC to use Syngenta Ltd.’s Central Toxicology Laboratory to design,
           perform, or oversee product safety testing that SCPLLC submits to the EPA in support
           of the registrations of paraquat and other pesticides);

        c. Production;

        d. Marketing;

        e. Sales;

        f. Human resources;

        g. Communications and public affairs;

        h. Corporate structure and ownership;

        i. Asset sales and acquisitions;

        j. Key appointments to boards, committees and management positions;

        k. Compensation packages;

        l. Training for high-level positions; and

        m. Finance (including day-to-day cash management) and tax.

         88.   Under the Syngenta Group’s functional management system, global managers

initiate, and the global Head of Human Resources oversees, international assignments and

compensation of managers employed by one Syngenta subsidiary to do temporary work for another

Syngenta subsidiary in another country. This international assignment program aims, in part, to

improve Syngenta Group-wide succession planning by developing corporate talent to make

employees fit for higher positions within the global Syngenta Group of companies.

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          89.     Under this international assignment program, at the instance of Syngenta Group

global managers, SCPLLC officers and employees have been “seconded” to work at other SAG

subsidiaries, and officers and employees of other Syngenta Group subsidiaries have been “seconded”

to work at SCPLLC.

          90.     The Syngenta Group’s functional management system includes a central global

finance function—known as Syngenta Group Treasury—for the entire Syngenta Group.

          91.     The finances of all Syngenta Group companies are governed by a global treasury

policy that subordinates the financial interests of SAG’s subsidiaries, including SCPLLC, to the

interests of the Syngenta Group as a whole.

          92.     Under the Syngenta Group’s global treasury policy, Syngenta Group Treasury

controls daily cash sweeps from subsidiaries such as SCPLLC, holds the cash on account, and lends

it to other subsidiaries that need liquidity.

          93.     The Syngenta Group’s global treasury policy does not allow SAG subsidiaries suchas

SCPLLC to seek or obtain financing from non-Syngenta entities without the approval of Syngenta

Group Treasury.

          94.     Syngenta Group Treasury also decides whether SCPLLC will issue a dividend or

distribution to its direct parent company, and how much that dividend will be.

          95.     SCPLLC’s board or management approves dividends and distributions mandatedby

Syngenta Group Treasury without any meaningful deliberation.

          96.     SAG, through its agent or alter ego, SCPLLC, does substantial business in the Stateof

New Jersey, in the ways previously alleged as to SCPLLC.

                2. Chevron

          97.     Chevron Chemical Company (“Chevron Chemical”) was a corporation organized in

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1928 under the laws of the State of Delaware.

         98.    In 1997, Chevron Chemical was merged into Chevron Chemical Company LLC

(“Chevron Chemical LLC”), a limited liability company organized under the laws of the State of

Delaware.

         99.    In the mid-2000s, Chevron Chemical LLC was merged into or continued to operate

under the same or similar ownership and management as Chevron Phillips Chemical Company LP

(“CP Chemical”).

         100.   CP Chemical is a successor in interest to the crop-protection business of its corporate

predecessor Chevron Chemical LLC.

         101.   CP Chemical is a successor by merger or continuation of business to its corporate

predecessor Chevron Chemical.

         102.   Defendant Chevron U.S.A. is a corporation organized and existing under the laws of

the State of Delaware, with its principal place of business in the State of California.

         103.   Defendant Chevron U.S.A. is a successor in interest to the crop-protection businessof

its corporate predecessor Chevron Chemical LLC.

         104.   Defendant Chevron U.S.A. is a successor in interest to the crop-protection business of

its corporate predecessor CP Chemical.

         105.   In the mid-2000s, Chevron U.S.A. entered into an agreement in which it expressly

assumed the liabilities of Chevron Chemical and Chevron Chemical LLC arising from Chevron

Chemical’s then-discontinued agrichemical business, which included the design, registration,

manufacture, formulation, packaging, labeling, distribution, marketing, and sale of paraquat products

in the United States as alleged in this Complaint.

      B. Paraquat manufacture, distribution, and sale


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         106.      ICI, a legacy company of Syngenta, claims to have discovered the herbicidal

properties of paraquat in 1955.

         107.      The leading manufacturer of paraquat is Syngenta, which (as ICI) developed the

active ingredient in paraquat in the early 1960s.

         108.      ICI produced the first commercial paraquat formulation and registered it in Englandin

1962.

         109.      Paraquat was marketed in 1962 under the brand name Gramoxone.

         110.      Paraquat first became commercially available for use in the United States in 1964.

         111.      In or about 1964, ICI and Chevron Chemical entered into agreements regarding the

licensing and distribution of paraquat (“the ICI-Chevron Chemical Agreements”).

         112.      In or about 1971, ICI Americas became a party to the ICI-Chevron Chemical

Agreements on the same terms as ICI.

         113.      The ICI-Chevron Chemical Agreements were renewed or otherwise remained in

effect until about 1986.

         114.      In the ICI-Chevron Chemical Agreements, ICI and ICI Americas granted Chevron

Chemical a license to their patents and technical information to permit Chevron Chemical to

formulate or have formulated, use, and sell paraquat in the United States and to grant sub-licensesto

others to do so.

         115.      In the ICI-Chevron Chemical Agreements, Chevron Chemical granted ICI and ICI

Americas a license to its patents and technical information to permit ICI and ICI Americas to

formulate or have formulated, use, and sell paraquat throughout the world and to grant sub-licensesto

others to do so.

         116.      In the ICI-Chevron Chemical Agreements, ICI and ICI Americas and Chevron

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Chemical agreed to exchange patent and technical information regarding paraquat.

          117.   In the ICI-Chevron Chemical Agreements, ICI and ICI Americas granted Chevron

Chemical exclusive rights to distribute and sell paraquat in the United States.

          118.   In the ICI-Chevron Chemical Agreements, ICI and ICI Americas granted Chevron

Chemical a license to distribute and sell paraquat in the U.S. under the ICI-trademarked brand name

Gramoxone.

          119.   ICI and ICI Americas and Chevron Chemical entered into the ICI-Chevron Chemical

Agreements to divide the worldwide market for paraquat between them.

          120.   Under the ICI-Chevron Chemical Agreements, Chevron Chemical distributed and

sold paraquat in the U.S. and ICI and ICI Americas distributed and sold paraquat outside the United

States.

          121.   Under the ICI-Chevron Chemical Agreements and related agreements, both ICI and

ICI Americas and Chevron Chemical distributed and sold paraquat under the ICI-trademarked brand

name Gramoxone.

          122.   Under the ICI-Chevron Chemical Agreements, ICI and ICI Americas and Chevron

Chemical exchanged patent and technical information regarding paraquat.

          123.   Under the ICI-Chevron Chemical Agreements, ICI and ICI Americas provided to

Chevron Chemical health and safety and efficacy studies performed or procured by ICI’s Central

Toxicology Laboratory, which Chevron Chemical then submitted to the USDA and the EPA to secure

and maintain the registration of paraquat for manufacture, formulation, distribution, and sale for use

in the United States.

          124.   Under the ICI-Chevron Chemical Agreements and related agreements, ICI and ICI

Americas manufactured and sold paraquat to Chevron Chemical that Chevron Chemical then

distributed and sold in the United States, including in New Jersey, where Chevron Chemical registered
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paraquat products with the State of New Jersey and marketed, advertised, and promoted them to New

Jersey distributors, dealers, applicators, and farmers.

         125.   Under the ICI-Chevron Chemical Agreements and related agreements, Chevron

Chemical distributed and sold paraquat in the United States under the ICI-trademarked brand name

Gramoxone and other names, including in New Jersey, where Chevron Chemical registered such

products with the State of New Jersey to enable them to be lawfully distributed, sold, and used in

New Jersey, and marketed, advertised, and promoted them to New Jersey distributors, dealers,

applicators,and farmers.

         126.   SAG and its corporate predecessors and others with whom they acted in concert have

manufactured, formulated, distributed, and sold paraquat for use in the United States from about 1964

through the present, and at all relevant times intended or expected their paraquat products to be

distributed and sold in New Jersey, where they registered such products with the Stateof New Jersey

to enable them to be lawfully distributed, sold, and used in New Jersey, and marketed, advertised,

and promoted them to New Jersey distributors, dealers, applicators, and farmers.

         127.   SAC and its corporate predecessors and others with whom they acted in concert have

submitted health and safety and efficacy studies to the USDA and the EPA to support the

registration of paraquat for manufacture, formulation, distribution, and sale for use in the United

States from about 1964 through the present.

         128.   SCPLLC and its corporate predecessors and others with whom they acted in concert

have manufactured, formulated, distributed, and sold paraquat for use in the United States from about

1971 through the present, and at all relevant times intended or expected their paraquat products to be

distributed and sold in New Jersey, where they registered such products with the Stateof New Jersey

to enable them to be lawfully distributed, sold, and used in New Jersey, and marketed, advertised,

and promoted them to New Jersey distributors, dealers, applicators, and farmers.
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         129.   SCPLLC and its corporate predecessors and others with whom they acted in concert

have submitted health and safety and efficacy studies to the EPA to support the registration of

paraquat for manufacture, formulation, distribution, and sale for use in the U.S. from about 1971

through the present.

         130.   On information and belief, Chevron Chemical manufactured, formulated,distributed,

and sold paraquat for use in the United States, acting in concert with ICI and ICI Americas throughout

this period, including in New Jersey, where Chevron Chemical registered such products with the

State of New Jersey to enable them to be lawfully distributed, sold, and used in New Jersey, and

marketed, advertised, and promoted them to New Jersey distributors, dealers, applicators,and farmers.

         131.   From approximately 1985 through 1990, Plaintiff was repeatedly exposed to and

inhaled, ingested, or absorbed paraquat in the State of New Jersey while working on farms.

         132.   As a direct result of the Plaintiff’s exposure to paraquat, Plaintiff began suffering

symptoms associated with Parkinson’s Disease and was diagnosed with PD in 2017.

         133.   No doctor or any other person ever told Plaintiff that the Plaintiff’s Parkinson’s

disease was or could have been caused by exposure to paraquat.

         134.   Before mid-2023, Plaintiff had never read or heard of any articles in newspapers,

scientific journals, or other publications that associated Parkinson’s Disease with paraquat.

         135.   Before mid-2023, Plaintiff had never read or heard of any lawsuit alleging that

paraquat causes Parkinson’s disease.

         136.   At no time when Plaintiff was present as paraquat was being sprayed was he aware

that exposure to paraquat could cause any latent injury, including any neurological injury or

Parkinson’s Disease, or that any precautions were necessary to prevent any latent injury that couldbe

caused by exposure to paraquat.

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         137.   On information and belief, the paraquat to which Plaintiff was exposed was sold and

used in New Jersey, and was manufactured, distributed, and on information and belief sold by oneor

more of the Defendants and their corporate predecessors and others with whom they acted in concert

intending or expecting that it would be sold and used in New Jersey.

         138.   On information and belief, Plaintiff was exposed to paraquat manufactured,

distributed, and sold at different times as to each Defendant, its corporate predecessors, and others

with whom they acted in concert, and not necessarily throughout the entire period of the Plaintiff’s

exposure as to any particular Defendant, its corporate predecessors, and others with whom they acted

in concert.

         139.   On information and belief, Plaintiff was exposed to paraquat that was sold and usedin

New Jersey, and was manufactured, distributed, and sold by SCPLLC, its corporate predecessors,

and others with whom they acted in concert, including Chevron Chemical, intending or expecting that

it would be sold and used in New Jersey.

         140.   On information and belief, Plaintiff was exposed to paraquat that was sold and usedin

New Jersey, and was manufactured, distributed, and sold by SAG, its corporate predecessors, and

others with whom they acted in concert, including Chevron Chemical, intending or expecting thatit

would be sold and used in New Jersey.

         141.   On information and belief, Plaintiff was exposed to paraquat that was sold and usedin

New Jersey, and was manufactured, distributed, and sold by Chevron Chemical, acting in concert

with ICI and ICI Americas, intending or expecting that it would be sold and used in New Jersey.

      C. Paraquat use

         142.    Since 1964, paraquat has been used in the United States to kill broadleaf weeds and

grasses before the planting or emergence of more than 100 field, fruit, vegetable, and plantation

crops, to control weeds in orchards, and to desiccate (dry) plants before harvest. At all relevant times,
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the use of Defendants’ paraquat for these purposes was intended or directed by or reasonably

foreseeable to, and was known to or foreseen by, Defendants.

         143.   At all relevant times, where paraquat was used, it was commonly used multiple times

per year on the same land, particularly when used to control weeds in orchards or on farms with

multiple crops planted on the same land within a single growing season or year, and such usewas as

intended or directed or reasonably foreseeable. The use of Defendants’ paraquat for these purposes

was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

Defendants.

         144.   At all relevant times, paraquat manufactured, distributed, sold, and sprayed or caused

to be sprayed by Defendants, Defendants’ corporate predecessors, and others with whom they acted

in concert was typically sold to end-users in the form of liquid concentrates (and less commonly in

the form of granular solids) designed to be diluted with water before or after loadingit into the tank of

a sprayer and applied by spraying it onto target weeds.

         145.   At all relevant times, concentrates containing paraquat manufactured, distributed,

sold, and sprayed or caused to be sprayed by Defendants, Defendants’ corporate predecessors, and

others with whom they acted in concert typically were formulated with one or more “surfactants”to

increase the ability of the herbicide to stay in contact with the leaf, penetrate the leaf’s waxy surface,

and enter into plant cells, and the accompanying instructions typically told end-users to add a

surfactant or crop oil (which as typically formulated contains a surfactant) before use.

         146.   At all relevant times, paraquat typically was applied with a knapsack sprayer, hand-

held sprayer, aircraft (i.e., crop duster), truck with attached pressurized tank, or tractor-drawn

pressurized tank, and such use was as intended or directed or was reasonably foreseeable

      D. Paraquat exposure

         147.   At all relevant times, it was reasonably foreseeable that when paraquat was used in
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the manner intended or directed or in a reasonably foreseeable manner, users of paraquat and persons

nearby would be exposed to paraquat while it was being mixed and loaded into the tanksof sprayers,

including as a result of spills, splashes, and leaks.

         148.     At all relevant times, it was reasonably foreseeable that when paraquat was used in

the manner intended or directed or in a reasonably foreseeable manner, persons who sprayed paraquat

or were in or near areas where it was being or recently had been sprayed would be exposedto paraquat,

including as a result of spray drift, the movement of herbicide spray droplets from thetarget area to an

area where herbicide application was not intended, typically by wind, and as a result of contact with

sprayed plants.

         149.     At all relevant times, it was reasonably foreseeable that when paraquat was used in

the manner intended or directed or in a reasonably foreseeable manner, users of paraquat and persons

nearby would be exposed to paraquat, including as a result of spills, splashes, and leaks, while

equipment used to spray it was being emptied or cleaned or clogged spray nozzles, lines, or valves

were being cleared.

         150.     At all relevant times, it was reasonably foreseeable that paraquat could enter the

human body via absorption through or penetration of the skin, mucous membranes, and other

epithelial tissues, including tissues of the mouth, nose and nasal passages, trachea, and conducting

airways, particularly where cuts, abrasions, rashes, sores, or other tissue damage was present.

         151.     At all relevant times, it was reasonably foreseeable that paraquat could enter the

human body via respiration into the lungs, including the deep parts of the lungs where respiration

(gas exchange) occurred.

         152.     At all relevant times, it was reasonably foreseeable that paraquat could enter the

human body via ingestion into the digestive tract of small droplets swallowed after entering the

mouth, nose, or conducting airways.
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         153.     At all relevant times, it was reasonably foreseeable that paraquat that entered the

human body via ingestion into the digestive tract could enter the enteric nervous system (the part of

the nervous system that governs the function of the gastrointestinal tract).

         154.     At all relevant times, it was reasonably foreseeable that paraquat that entered the

human body, whether via absorption, respiration, or ingestion, could enter the bloodstream.

         155.     At all relevant times, it was reasonably foreseeable that paraquat that entered the

bloodstream could enter the brain, whether through the blood-brain barrier or parts of the brain not

protected by the blood-brain barrier.

         156.     At all relevant times, it was reasonably foreseeable that paraquat that entered the nose

and nasal passages could enter the brain through the olfactory bulb (a part of the brain involved in

the sense of smell), which is not protected by the blood-brain barrier.

      E. Parkinson’s disease

         157.     PD is progressive neurodegenerative disorder of the brain that affects primarily the

motor system, the part of the central nervous system that controls movement.

         158.     Scientists who study PD generally agree that fewer than 10% of all PD cases are

caused by inherited genetic mutations alone, and that more than 90% are caused by a combinationof

environmental factors, genetic susceptibility, and the aging process.

                1. Symptoms and Treatment

         159.     The characteristic symptoms of PD are its “primary” motor symptoms: resting tremor

(shaking movement when the muscles are relaxed), bradykinesia (slowness in voluntary movement

and reflexes), rigidity (stiffness and resistance to passive movement), and postural instability

(impaired balance).

         160.     PD’s primary motor symptoms often result in “secondary’’ motor symptoms such as

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freezing of gait; shrinking handwriting; mask-like expression; slurred, monotonous, quiet voice;

stooped posture; muscle spasms; impaired coordination; difficulty swallowing; and excess saliva and

drooling caused by reduced swallowing movements.

         161.     Non-motor symptoms-such as loss of or altered sense of smell; constipation; low

blood pressure on rising to stand; sleep disturbances; and depression are present in most cases of PD,

often for years before any of the primary motor symptoms appear.

         162.     There is currently no cure for PD. No treatment will slow, stop, or reverse its

progression, and the treatments most-commonly prescribed for its motor symptoms tend to become

progressively less effective, and to cause unwelcome side effects, the longer they are used.

                2. Pathophysiology

         163.     The selective degeneration and death of dopaminergic neurons (dopamine-

producing nerve cells) in a part of the brain called the substantia nigra pars compacta (“SNpc”) isone

of the primary pathophysiological hallmarks of PD.

         164.     Dopamine is a neurotransmitter (a chemical messenger that transmits signals from

one neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of motor

function (among other things).

         165.     The death of dopaminergic neurons in the SNpc decreases the production of

dopamine.

         166.     Once dopaminergic neurons die, they are not replaced; when enough dopaminergic

neurons have died, dopamine production falls below the level the brain requires for proper controlof

motor function, resulting in the motor symptoms of PD.

         167.     The presence of Lewy bodies (insoluble aggregates of a protein called alpha-

synuclein) in many of the remaining dopaminergic neurons in the SNpc is another of the primary

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pathophysiological hallmarks of PD.

           168.    Dopaminergic neurons are particularly susceptible to oxidative stress, a disturbancein

the normal balance between oxidants present in cells and cells’ antioxidant defenses.

           169.    Scientists who study PD generally agree that oxidative stress is a major factor in—if

not the precipitating cause of—the degeneration and death of dopaminergic neurons in the SNpcand

the accumulation of Lewy bodies in the remaining dopaminergic neurons that are the primary

pathophysiological hallmarks of PD.

         F. Paraquat’s toxicity

           170.    Paraquat is highly toxic to both plants and animals.

           171.    Paraquat injures and kills plants by creating oxidative stress that causes or

contributes to cause the degeneration and death of plant cells.

           172.    Paraquat injures and kills humans and other animals by creating oxidative stress

that causes or contributes to cause the degeneration and death of animal cells.

           173.    Paraquat creates oxidative stress in the cells of plants and animals because of “redox

properties” that are inherent in its chemical composition and structure: it is a strong oxidant, and it

readily undergoes “redox cycling” in the presence of molecular oxygen, which is plentiful in living

cells.

           174.    The redox cycling of paraquat in living cells interferes with cellular functions thatare

necessary to sustain life—photosynthesis in the case of plant cells and cellular respiration in the case

of animal cells.

           175.    The redox cycling of paraquat in living cells creates a “reactive oxygen species”

known as superoxide radical, an extremely reactive molecule that can initiate a cascading series of

chemical reactions that creates other reactive oxygen species that damage lipids, proteins, and nucleic

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acids—molecules that are essential components of the structures and functions of living cells.

           176.   Because the redox cycling of paraquat can repeat indefinitely in the conditions

typically present in living cells, a single molecule of paraquat can trigger the production of countless

molecules of destructive superoxide radical.

           177.   Paraquat’s redox properties have been known since at least the 1930s.

           178.   That paraquat is toxic to the cells of plants and animals because it creates oxidative

stress through redox cycling has been known since at least the 1960s.

           179.   The surfactants with which the concentrates containing paraquat manufactured,

distributed, and sold by Defendants, Defendants’ corporate predecessors, and others with whom they

acted in concert typically were formulated were likely to increase paraquat’s toxicity to humans by

increasing its ability to stay in contact with or penetrate the skin, mucous membranes, and other

epithelial tissues, including tissues of the mouth, nose and nasal passages, trachea, and conducting

airways, the lungs, and the gastrointestinal tract.

      G.          Paraquat and Parkinson’s disease

           180.   The same redox properties that make paraquat toxic to plant cells and other types of

animal cells make it toxic to dopaminergic neurons—paraquat is a strong oxidant that interfereswith

the function of, damages, and ultimately kills dopaminergic neurons by creating oxidative stress

through redox cycling.

           181.   Although PD is not known to occur naturally in any species other than humans, PD

research is often performed using “animal models,” in which scientists artificially produce in

laboratory animals conditions that show features of PD.

           182.   Paraquat is one of only a handful of toxins that scientists use to produce animal

models of PD.


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            183.   In animal models of PD, hundreds of studies involving various routes of exposure

have found that paraquat creates oxidative stress that results in the degeneration and death of

dopaminergic neurons in the SNpc, other pathophysiology consistent with that seen in human PD,and

motor deficits and behavioral changes consistent with those commonly seen in human PD.

            184.   Hundreds of in vitro studies have found that paraquat creates oxidative stress that

results in the degeneration and death of dopaminergic neurons (and many other types of animal cells).

            185.   Many epidemiological studies (studies of the patterns and causes of disease in

defined populations) have found an association between paraquat exposure and PD, including

multiple studies finding a two- to five-fold or greater increase in the risk of PD in populations with

occupational exposure to paraquat compared to populations without such exposure.

            186.   Defendants had knowledge of these studies and the relationship between paraquat

exposure and PD but actively and fraudulently concealed this information from Plaintiff and others.

       H.          Paraquat regulation

            187.   The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C.

§136 et seq., which regulates the distribution, sale, and use of pesticides within the United States,requires that

pesticides be registered with the EPA prior to their distribution, sale, or use, except as described by FIFRA. 7

U.S.C. 136a(a).

            188.   As part of the pesticide registration process, the EPA requires, among other things,a

variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other

potential non-target organisms, and other adverse effects on the environment.

            189.   As a general rule, FIFRA requires registrants to perform health and safety testing of

pesticides.

            190.   FIFRA does not require the EPA to perform health and safety testing of pesticides

itself, and the EPA generally does not perform such testing.
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         191.   The EPA registers (or re-registers) a pesticide if it believes, based largely on studies

and data submitted by the registrant, that:

   a. its composition is such as to warrant the proposed claims for it, 7 U.S.C. § 136a(c)(5)(A);

   b. its labeling and other material required to be submitted comply with the requirements of
      FIFRA, 7 U.S.C. § 136a(c)(5)(B);

   c. it will perform its intended function without unreasonable adverse effects on the environment,
      7 U.S.C. § 136a(c)(5)(C); and

   d. when used in accordance with widespread and commonly recognized practice it will not
      generally cause unreasonable adverse effects on the environment, 7 U.S.C. § 136a(c)(5)(D).

         192.   FIFRA defines “unreasonable adverse effects on the environment’’ as “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb).

         193.   Under FIFRA, “[a]s long as no cancellation proceedings are in effect registration of

a pesticide shall be prima facie evidence that the pesticide, its labeling and packaging comply with

the registration provisions of [FIFRA].” 7 U.S.C. § 136a(f)(2).

         194.   However, FIFRA further provides that “[i]n no event shall registration of an articlebe

construed as a defense for the commission of any offense under [FIFRA].” 7 U.S.C. § 136a(f)(2).

         195.   The distribution or sale of a pesticide that is misbranded is an offense under FIFRA,

which provides in relevant part that “it shall be unlawful for any person in any State to distribute or

sell to any person . . . any pesticide which is . . . misbranded.” 7 U.S.C. § 136j(a)(1)(E).

         196.   A pesticide is misbranded under FIFRA if, among other things:

         a. its labeling bears any statement, design, or graphic representation relative thereto or to
            its ingredients that is false or misleading in any particular, 7 U.S.C. § 136(q)(1)(A);

         b. the labeling accompanying it does not contain directions for use which are necessary for
            effecting the purpose for which the product is intended and if complied with, together
            with any requirements imposed under Section 136a(d)of the title, are adequate to protect
            health and the environment, 7 U.S.C. § 136(q)(1)(F); or

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         c. the label does not contain a warning or caution statement that may be necessary and if
            complied with, together with any requirements imposed undersection 136a(d) of the title,
            is adequate to protect health and the environment,”7 U.S.C. § 136(q)(l)(G).

          197.   Plaintiff does not seek in this action to impose on Defendants any labeling or

packaging requirement in addition to or different from those required under FIFRA; accordingly,any

allegation in this complaint that a Defendant breached a duty to provide adequate directions for the

use of paraquat or warnings about paraquat, breached a duty to provide adequate packaging for

paraquat, or concealed, suppressed, or omitted to disclose any material fact about paraquat or engaged

in any unfair or deceptive practice regarding paraquat, that allegation is intended and should be

construed to be consistent with that alleged breach, concealment, suppression, or omission, or unfair

or deceptive practice, having rendered the paraquat “misbranded” under FIFRA; however, Plaintiff

brings claims and seek relief in this action only under state law, and donot bring any claims or seek

any relief in this action under FIFRA.

                        V.     FRAUDULENT CONCEALMENT AND TOLLING

          198.   Plaintiff did not discover this earlier because Plaintiff had no reason to suspect that

Plaintiff’s working with Paraquat could cause Plaintiff to suffer Parkinson’s disease.

          199.   Defendants took active steps to conceal this harmful side effect of Paraquat.

          200.   Indeed, in response to growing concerns regarding the safety of Paraquat, Syngenta

published a website at www.paraquat.com for the purpose of convincing the public that Paraquat is

safe.

          201.   Syngenta’s statements proclaiming the safety of Paraquat and disregarding its dangers were

designed to mislead the agricultural community and the public at large – including Plaintiff.

          202.   Defendants knew or should have known that Paraquat was a highly toxic substance

that can cause severe neurological injuries and impairment.

          203.   However, despite this knowledge, Defendants continued to promote its product as
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safe.

           204.     Defendants did not make this knowledge known to Plaintiff or the general public. Indeed,

Defendants failed to adequately warn and instruct Plaintiff of a possible associationbetween Paraquat

use and Parkinson’s disease.

           205.     Even today, Syngenta disavows any connection between Paraquat and Parkinson’s

disease.

           206.     Defendants’ acts and omissions were a legal, proximate, and substantial factor in

causing Plaintiff to suffer severe and permanent physical injuries, pain, mental anguish, and

disability, as well as economic loss, and will continue to do so for the remainder of Plaintiff’s life.

           207.     All applicable statutes of limitations have been tolled by Defendants’ knowing and

active fraudulent concealment and denial of the facts alleged herein throughout the time period

relevant to this action.

                  VI.   ALLEGATIONS COMMON TO SPECIFIC CAUSES OF ACTION

                  A. Strict Product Liability – Design Defect

           208.     At all relevant times, Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert were engaged in the U.S. paraquat business.

           209.     At all relevant times, Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert were engaged in the business of designing, manufacturing,

distributing, and selling pesticides, and designed, manufactured, distributed, and sold paraquat

intending or expecting that it would be sold and used in New Jersey.

           210.     Plaintiff was exposed to paraquat sold and used in New Jersey that Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert designed,

manufactured, distributed, and sold intending or expecting that it would be sold and used in New

Jersey.
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         211.     The paraquat that Defendants, Defendants’ corporate predecessors, and others with

whom they acted in concert designed, manufactured, distributed, and sold and to which Plaintiff was

exposed was in a defective condition that made it unreasonably dangerous, in that when usedin the

intended and directed manner or a reasonably foreseeable manner:

   a. it was designed, manufactured, formulated, and packaged such that it was likely to be inhaled,
      ingested, and absorbed into the bodies of persons who used it, who were nearby while it
      was being used, or who entered fields or orchards where it had been sprayed or areas near
      where it had been sprayed; and


   b. when inhaled, ingested, or absorbed into the bodies of persons who used it,who were nearby
      while it was being used, or who entered fields or orchards where it had been sprayed or areas
      near where it had been sprayed, it was likelyto cause or contribute to cause latent neurological
      damage that was both permanent and cumulative, and repeated exposures were likely to cause
      or contribute to cause clinically significant neurodegenerative disease, including PD, to
      develop long after exposure.


         212.     This defective condition existed in the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Plaintiff was exposed when it left the control of Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert and was placed into

the stream of commerce.

         213.     As a result of this defective condition, the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Plaintiff was exposed either failed to perform in the manner

reasonably to be expected in light of its nature and intended function, or the magnitude of the dangers

outweighed its utility.

         214.     The paraquat that Defendants, Defendants’ corporate predecessors, and others with

whom they acted in concert designed, manufactured, distributed, and sold and to which Plaintiff was

exposed was used in the intended and directed manner or a reasonably foreseeable manner.

                B. Strict Product Liability – Failure to Warn
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          215.   At all times relevant to this claim, Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert were engaged in the business of designing,

manufacturing, distributing, and selling pesticides, and designed, manufactured, distributed, and

sold paraquat intending or expecting that it would be sold and used in New Jersey.

          216.   Plaintiff was exposed to paraquat sold and used in New Jersey that Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert designed,

manufactured, distributed, and sold intending or expecting that it would be sold and used in New

Jersey.

          217.   When Defendants, Defendants’ corporate predecessors, and others with whom they

acted in concert designed, manufactured, distributed, and sold the paraquat to which Plaintiff was

exposed, Defendants, Defendants’ corporate predecessors, and others with whom they acted in

concert knew or in the exercise of ordinary care should have known that when used in the intendedand

directed manner or a reasonably foreseeable manner:

            a. it was designed, manufactured, formulated, and packaged such that it was likely to be
               inhaled, ingested, and absorbed into the bodies of persons who usedit, who were nearby
               while it was being used, or who entered fields or orchardswhere it had been sprayed
               or areas near where it had been sprayed; and

            b. when inhaled, ingested, or absorbed into the bodies of persons who used it,who were
               nearby while it was being used, or who entered fields or orchards where it had been
               sprayed or areas near where it had been sprayed, it was likelyto cause or contribute to
               cause latent neurological damage that was both permanent and cumulative, and
               repeated exposures were likely to cause or contribute to cause clinically significant
               neurodegenerative disease, includingPD, to develop long after exposure.


          218.   The paraquat that Defendants, Defendants’ corporate predecessors, and others with

whom they acted in concert designed, manufactured, distributed, and sold and to which Plaintiff was

exposed was in a defective condition that made it unreasonably dangerous when it was used in the

intended and directed manner or a reasonably foreseeable manner, in that:

            a. it was not accompanied by directions for use that would have made it unlikely to be
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                  inhaled, ingested, and absorbed into the bodies of persons who used it, who were
                  nearby while it was being used, or who entered fields or orchards where it had been
                  sprayed or areas near where it had been sprayed; and


            b. it was not accompanied by a warning that when inhaled, ingested, or absorbed into the
               bodies of persons who used it, who were nearby while it wasbeing used, or who entered
               fields or orchards where it had been sprayed or areas near where it had been sprayed,
               it was likely to cause or contribute to cause latent neurological damage that was both
               permanent and cumulative, and that repeated exposures were likely to cause or
               contribute to cause clinically significant neurodegenerative disease, including PD, to
               develop long after exposure.


          219.     This defective condition existed in the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Plaintiff was exposed when it left the control of Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert and was placed into

the stream of commerce.

          220.     As a result of this defective condition, the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Plaintiff was exposed either failed to perform in the manner

reasonably to be expected in light of its nature and intended function, or the magnitude of the dangers

outweighed its utility.

          221.     The paraquat that Defendants, Defendants’ corporate predecessors, and others with whom

they acted in concert designed, manufactured, distributed, and sold and to which Plaintiff was exposed was

used in the intended and directed manner or a reasonably foreseeable manner.

                 C. Negligence

          222.     At all times relevant to this claim, Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert were engaged in the business of designing,

manufacturing, distributing, and selling pesticides, and designed, manufactured, distributed, and sold

paraquat intending or expecting that it would be sold and used in New Jersey.
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           223.   Plaintiff was exposed to paraquat sold and used in New Jersey that Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert designed,

manufactured, distributed, and sold intending or expecting that it would be sold and used in New

Jersey.

           224.   The paraquat that Defendants, Defendants’ corporate predecessors, and others with

whom they acted in concert designed, manufactured, distributed, and sold and to which Plaintiff was

exposed was used in the intended and directed manner or a reasonably foreseeable manner.

           225.   At all times relevant to this claim, in designing, manufacturing, packaging, labeling,

distributing, and selling paraquat, and in acting in concert with others who did so, Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert owed a duty to

exercise ordinary care for the health and safety of the persons whom it was reasonably foreseeable

could be exposed to it, including Plaintiff.

    226.          When Defendants, Defendants’ corporate predecessors, and others with whom they

acted in concert designed, manufactured, packaged, labeled, distributed, and sold the paraquat to

which Plaintiff was exposed, it was reasonably foreseeable, and Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert knew or in the exercise of ordinary case

should have known, that when paraquat was used in the intended and directed manneror a reasonably

foreseeable manner:

             a. it was designed, manufactured, formulated, and packaged such that it was likely to be
                inhaled, ingested, and absorbed into the bodies of persons who used it, who were
                nearby while it was being used, or who entered fields or orchards whereit had been
                sprayed or areas near where it had been sprayed; and

             b. when inhaled, ingested, or absorbed into the bodies of persons who used it,who were
                nearby while it was being used, or who entered fields or orchards whereit had been
                sprayed or areas near where it had been sprayed, it was likely to cause or contribute
                to cause latent neurological damage that was both permanent and cumulative, and
                repeated exposures were likely to cause or contribute to cause clinically significant
                neurodegenerative disease, including PD, to develop long after exposure.

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         227.   In breach of the aforementioned duty to Plaintiff, Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert negligently:

           a. failed to design, manufacture, formulate, and package paraquat to make it unlikely to
              be inhaled, ingested, and absorbed into the bodies of persons who used it, who were
              nearby while it was being used, or who entered fields or orchards where it had been
              sprayed or areas near where it had been sprayed;

           b. designed, manufactured, and formulated paraquat such that when inhaled, ingested,
              or absorbed into the bodies of persons who used it, who were nearby while it was being
              used, or who entered fields or orchards where it had been sprayed or areas near where
              it had been sprayed, it was likely to cause or contribute to cause latent neurological
              damage that was both permanent and cumulative, and repeated exposures were likely
              to cause or contribute to cause clinically significant neurodegenerative disease,
              including PD, to develop long after exposure;

           c. failed to perform adequate testing to determine the extent to which exposure to
              paraquat was likely to occur through inhalation, ingestion, and absorption into the
              bodies of persons who used it, who were nearby while it was being used, or who
              entered fields or orchards where it had been sprayed or areas near where it had been
              sprayed;

           d. failed to perform adequate testing to determine the extent to which paraquatspray drift
              was likely to occur, including its propensity to drift, the distance it was likely to drift,
              and the extent to which paraquat spray droplets were likely to enter the bodies of
              persons spraying it or other persons nearby during or after spraying;

           e. failed to perform adequate testing to determine the extent to which paraquat, when
              inhaled, ingested, or absorbed into the bodies of persons who used it, who were nearby
              while it was being used, or who entered fields or orchards where it had been sprayed or
              areas near where it had been sprayed, was likely to cause or contribute to cause latent
              neurological damage that was both permanent and cumulative, and the extent to which
              repeated exposures were likely to cause or contribute to cause clinically significant
              neurodegenerative disease, including PD, to develop long after exposure;

           f. failed to perform adequate testing to determine the extent to which paraquat, when
              formulated or mixed with surfactants or other pesticides or used along with other
              pesticides, and inhaled, ingested, or absorbed into the bodies of persons who used it,
              who were nearby while it was being used, or who entered fields or orchards where it
              had been sprayed or areas near where it had been sprayed, was likely to cause or
              contribute to cause latent neurological damage that was both permanent and
              cumulative, and the extent to which repeated exposures were likely to cause or
              contribute to cause clinically significant neurodegenerative disease, including PD, to
              develop long after exposure;

           g. failed to direct that paraquat be used in a manner that would have made it unlikely to
              have been inhaled, ingested, and absorbed into the bodies of persons who used it, who

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                 were nearby while it was being used, or who entered fields or orchards where it had
                 been sprayed or areas near where it had been sprayed; and

           h. failed to warn that when inhaled, ingested, or absorbed into the bodies of persons who
              used it, who were nearby while it was being used, or who entered fields or orchards
              where it had been sprayed or areas near where it had been sprayed, paraquat was likely
              to cause or contribute to cause latent neurological damage thatwas both permanent
              and cumulative, and repeated exposures were likely to cause or contribute to cause
              clinically significant neurodegenerative disease, including PD, to develop long after
              exposure.

                D. Breach of Express Warranties and Implied Warranty of Merchantability

         228.     At all times relevant to this claim, Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert were engaged in the business of designing,

manufacturing, distributing, and selling paraquat and other restricted-use pesticides and themselves

out as having knowledge or skill regarding paraquat and other restricted-use pesticides.

         229.     At all times relevant to this claim, Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert designed, manufactured, distributed, and sold paraquat

intending or expecting that it would be sold and used in the state of New Jersey.

         230.     Plaintiff was exposed to paraquat sold and used in the state of New Jersey that

Defendants, Defendants’ corporate predecessors, and others with whom they acted in concert

designed, manufactured, distributed, and sold intending or expecting that it would be sold and usedin

the state of New Jersey.

         231.     At the time of each sale of paraquat to which Plaintiff was exposed, Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert made express

warranties and/or impliedly warranted that it was of merchantable quality, including that it was fitfor

the ordinary purposes for which such goods were used.

         232.     Defendants, Defendants’ corporate predecessors, and others with whom they actedin

concert breached this warranty regarding each sale of paraquat to which Plaintiff was exposed,in that

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it was not of merchantable quality because it was not fit for the ordinary purposes for whichsuch goods

were used, and in particular:

           a. it was designed, manufactured, formulated, and packaged such that it was likelyto be
              inhaled, ingested, and absorbed into the bodies of persons who used it, who were
              nearby while it was being used, or who entered fields or orchards where it hadbeen
              sprayed or areas near where it had been sprayed; and

           b. when inhaled, ingested, or absorbed into the bodies of persons who used it, whowere
              nearby while it was being used, or who entered fields or orchards where it had been
              sprayed or areas near where it had been sprayed, it was likely to cause or contribute
              to cause latent neurological damage that was both permanent and cumulative, and
              repeated exposures were likely to cause or contribute to cause clinically significant
              neurodegenerative disease, including PD, to develop long after exposure.

                E. NEW JERSEY’S Unfair and Deceptive Acts and Practices

         233.     At all times relevant to this claim, Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert, were engaged in the business of designing,

manufacturing, distributing, and selling pesticides, and design, manufactured, distributed, and sold

paraquat intending or expecting that it would be sold and used in New Jersey.

         234.     Plaintiff was exposed to paraquat sold and used in New Jersey that Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert, designed,

manufactured, distributed, and sold intending or expecting that it would be sold and used in New

Jersey and that Plaintiff used for the purpose of controlling weeds and not for resale.

         235.     Defendants and Defendants’ corporate predecessors and others with whom they

acted in concert, concealed, suppressed, and omitted to disclose to Plaintiff the harmful side effects

of paraquat in that they:

           a. concealed, suppressed, or omitted to disclose that paraquat was designed,
              manufactured, formulated, and packaged such that it was likely to be inhaled,
              ingested, and absorbed into the bodies of persons who used it, who were nearby while
              it was being used, or who entered fields or orchards where it had been sprayed or areas
              near where it had been sprayed;

           b. concealed, suppressed, or omitted to disclose that when inhaled, ingested, or absorbed
              into the bodies of persons who used it, who were nearby while it was being used, or
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                who entered fields or orchards where it has been sprayed or areas near where it has
                been sprayed, paraquat was likely to cause or contribute to cause latent neurological
                damage that was both permanent and cumulative, and repeated exposures were likely
                to cause or contribute to cause clinically significant neurodegenerative disease,
                including PD, to develop long after exposure;

           c. concealed, suppressed, or omitted to disclose that adequate testing has not been
              performed to determine the extent to which exposure to paraquat was likely to occur
              through inhalation ingestion, and absorption into the bodies of persons who used it,
              who were nearby while it was being used, or who entered fields or orchards where it
              has been sprayed or areas near where it had been sprayed;

           d. concealed, suppressed, or omitted to disclose that adequate testing had not been
              performed to determine the extent to which paraquat spray drift was likely to occur,
              including its propensity to drift, the distance it was likely to drift, and the extent to
              which paraquat spray droplets were likely to enter the bodies of persons spraying it or
              other persons nearby during or after spraying;

           e. concealed, suppressed, or omitted to disclose that adequate testing had not been
              performed to determine the extent to which paraquat, when inhaled, ingested, or
              absorbed into the bodies of persons who used it, who were nearby while it was being
              used, or who entered fields or orchards where it had been sprayed or areas near where
              it had been sprayed, was likely to cause or contribute to cause latent neurological
              damage that was both permanent and cumulative, and the extent to which repeated
              exposures were likely to cause or contribute to cause clinically significant
              neurodegenerative disease, including PD, to develop long after exposure;

           f. concealed, suppressed, or omitted to disclose that adequate testing had not been
              performed to determine the extent to which paraquat, when formulated or mixed with
              surfactants or other pesticides or used along with other pesticides, and inhaled,
              ingested, or absorbed into bodies of persons who used it, who were nearby while it
              was being used, or who entered fields or orchards where it had been sprayed or areas
              near where it had been sprayed, was likely to cause or contribute to cause latent
              neurological damage that was both permanent and cumulative, and the extent to which
              repeated exposures were likely to cause or contribute to cause clinically significant
              neurodegenerative disease, including PD, to develop long after exposure.

         236.   Defendants and Defendants’ corporate predecessors, and others with whom they

acted in concert intended that Plaintiff would rely on their concealment, suppression, and omissions

regarding paraquat.

         237.   The concealment, suppression, and omissions of Defendants and Defendants’

corporate predecessors, and others with whom they acted in concert, were material to Plaintiff’s

purchase of paraquat.
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         238.   Plaintiff acted as a reasonable consumer would in light of all circumstances in

purchasing paraquat.

         239.   The unlawful methods acts, and practices engaged in by Defendants and Defendants’

corporate predecessors, and others with whom they acted in concert, would cause a reasonable person

to purchase paraquat.

         240.   As a direct and proximate cause of the concealment, suppression, and omissions of

Defendants’ and Defendants’ corporate predecessors, and others with whom they acted in concert,

Plaintiff suffered ascertainable loss and actual damages, including that Plaintiff developed PD, and

suffered severe and personal injuries that are permanent and lasting in nature, physical pain and

mental anguish, including diminished enjoyment of life, and incurred financial expenses for

hospitalization and medical care.

                                     COUNT I
                            DEFENDANTS SCPLLC AND SAG
                     STRICT PRODUCT LIABILITY – DESIGN DEFECT
                                PERSONAL INJURIES

         241.   Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

         242.   As a direct and proximate result of the defective and unreasonably dangerous

condition of the paraquat manufactured, distributed, and sold by SCPLLC, SAG, their corporate

predecessors, and others with whom they acted in concert, Plaintiff developed PD; has suffered

severe and permanent physical pain, mental anguish, and disability, and will continue to do so forthe

remainder of the Plaintiff’s life; has suffered the loss of a normal life and will continue to do so for

the remainder of the Plaintiff’s life; has lost income that he otherwise would have earned and will

continue to do so for the remainder of the Plaintiff’s life; and has incurred reasonable expenses for

necessary medical treatment and will continue to do so for the remainder of the Plaintiff’s life.

                                    COUNT II
                           DEFENDANTS SCPLLC AND SAG
                   STRICT PRODUCT LIABILITY – FAILURE TO WARN
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                                         PERSONAL INJURIES

          243.      Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

          244.      As a direct and proximate result of the lack of adequate directions for the use of and

warnings about the dangers of the paraquat manufactured, distributed and sold by SCPLLC, SAG,

their corporate predecessors, and others with whom they acted in concert, Plaintiff developed PD;

has suffered severe and permanent physical pain, mental anguish, and disability, and will continue to

do so for the remainder of the Plaintiff’s life; has suffered the loss of a normal life and will continue

to do so for the remainder of the Plaintiff’s life; has lost income that he otherwise would have earned

and will continue to do so for the remainder of the Plaintiff’s life; and has incurred reasonable

expenses for necessary medical treatment and will continue to do so for the remainder of the

Plaintiff’s life.

                                          COUNT III
                                  DEFENDANTS SCPLLC AND SAG
                                         NEGLIGENCE
                                      PERSONAL INJURIES

          245.      Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

          246.      As a direct and proximate result of the negligence of SCPLLC, SAG, their corporate

predecessors, and others with whom they acted in concert, Plaintiff developed PD; has suffered

severe and permanent physical pain, mental anguish, and disability, and will continue to do so forthe

remainder of the Plaintiff’s life; has suffered the loss of a normal life and will continue to do so for

the remainder of the Plaintiff’s life; has lost income that he otherwise would have earned and will

continue to do so for the remainder of the Plaintiff’s life; and has incurred reasonable expenses for

necessary medical treatment and will continue to do so for the remainder of the Plaintiff’s life.

                                COUNT IV
                        DEFENDANTS SCPLLC AND SAG
          BREACH OF EXPRESS WARRANTIES AND IMPLIED WARRANTY OF
                            MERCHANTABILITY
                            PERSONAL INJURIES
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         247.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

         248.    As a direct and proximate result of the breaches of express warranty and the implied

warranty of merchantability by SCPLLC, SAG, their corporate predecessors, and others with whom

they acted in concert, Plaintiff developed PD; has suffered severe and permanent physical pain,

mental anguish, and disability, and will continue to do so for the remainder of the Plaintiff’s life; has

suffered the loss of a normal life and will continue to do so for the remainder of the Plaintiff’slife; has

lost income that he otherwise would have earned and will continue to do so for the remainder of the

Plaintiff’s life; and has incurred reasonable expenses for necessary medical treatment and will

continue to do so for the remainder of the Plaintiff’s life.

                                 COUNT V
                        DEFENDANTS SCPLLC AND SAG
           NEW JERSEY’S UNFAIR AND DECEPTIVE ACTS AND PRACTICES
                            PERSONAL INJURIES

         249.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

         250.    As a direct and proximate result of the violations of N.J. Stat. Ann. § 56:8-2,

Defendants, their corporate predecessors, and others with whom they acted in concert, Plaintiff

developed PD; has suffered severe and permanent physical pain, mental anguish, and disability, and

will continue to do so for the remainder of his life; has suffered the loss of a normal life and will

continue to do so for the remainder of his life; has lost income that he otherwise would have earned

and will continue to do so for the remainder of his life; and has incurred reasonable expenses for

necessary medical treatment and will continue to do so for the remainder of his life.

                                    COUNT VI
                          DEFENDANT CHEVRON U.S.A. INC.
                     STRICT PRODUCT LIABILITY – DESIGN DEFECT
                                PERSONAL INJURIES

         251.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

         252.    As a direct and proximate result of the defective and unreasonably dangerous
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condition of the paraquat manufactured, distributed and sold by Chevron and others with whom it acted

in concert, Plaintiff developed PD; has suffered severe and permanent physical pain,mental anguish,

and disability, and will continue to do so for the remainder of the Plaintiff’s life; has suffered the loss

of a normal life and will continue to do so for the remainder of the Plaintiff’s life; has lost income

that he otherwise would have earned and will continue to do so for the remainder of the Plaintiff’s

life; and has incurred reasonable expenses for necessary medical treatment and will continue to do

so for the remainder of the Plaintiff’s life.

                                    COUNT VII
                           DEFENDANT CHEVRON U.S.A. INC.
                    STRICT PRODUCT LIABILITY – FAILURE TO WARN
                                PERSONAL INJURIES

          253.   Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

          254.   As a direct and proximate result of the lack of adequate directions for the use of and

warnings about the dangers of the paraquat manufactured, distributed and sold by Chevron and others

with whom it acted in concert, Plaintiff developed PD; has suffered severe and permanent physical

pain, mental anguish, and disability, and will continue to do so for the remainder of the Plaintiff’s

life; has suffered the loss of a normal life and will continue to do so for the remainder of the Plaintiff’s

life; has lost income that he otherwise would have earned and will continue to do so for the remainder

of the Plaintiff’s life; and has incurred reasonable expenses for necessary medical treatment and will

continue to do so for the remainder of the Plaintiff’s life.

                                        COUNT VIII
                               DEFENDANT CHEVRON U.S.A. INC.
                                       NEGLIGENCE
                                    PERSONAL INJURIES

          255.   Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

          256.   As a direct and proximate result of the negligence of Chevron and otherswith whom

it acted in concert, Plaintiff developed PD; has suffered severe and permanent physical pain, mental

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anguish, and disability, and will continue to do so for the remainder of the Plaintiff’s life; has suffered

the loss of a normal life and will continue to do so for the remainder of the Plaintiff’s life; has lost

income that he otherwise would have earned and will continue to do so for the remainder of the

Plaintiff’s life; and has incurred reasonable expenses for necessary medical treatment and will

continue to do so for the remainder of the Plaintiff’s life.

                                COUNT IX
                       DEFENDANT CHEVRON U.S.A. INC.
          BREACH OF EXPRESS WARRANTIES AND IMPLIED WARRANTY OF
                            MERCHANTABILITY
                            PERSONAL INJURIES

          257.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

          258.    As a direct and proximate result of the breaches of express warranty and the implied

warranty of merchantability by Chevron and others with whom it acted in concert, Plaintiff developed

PD; has suffered severe and permanent physical pain, mental anguish, and disability, and will

continue to do so for the remainder of the Plaintiff’s life; has suffered the loss of a normal life and

will continue to do so for the remainder of the Plaintiff’s life; has lost incomethat he otherwise would

have earned and will continue to do so for the remainder of the Plaintiff’s life; and has incurred

reasonable expenses for necessary medical treatment and will continue to do so for the remainder of

the Plaintiff’s life.

                                  COUNT X
                        DEFENDANT CHEVRON U.S.A. INC.
            NEW JERSEY’S UNFAIR AND DECEPTIVE ACTS AND PRACTICES
                             PERSONAL INJURIES

          259.    Plaintiff incorporates by reference the preceding paragraphs of this Complaint.

          260.    As a direct and proximate result of the violations of N.J. Stat. Ann. § 56:8-2,

Defendants, their corporate predecessors, and others with whom they acted in concert, Plaintiff

developed PD; has suffered severe and permanent physical pain, mental anguish, and disability, and

will continue to do so for the remainder of his life; has suffered the loss of a normal life and will

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continue to do so for the remainder of his life; has lost income that he otherwise would have earned

and will continue to do so for the remainder of his life; and has incurred reasonable expenses for

necessary medical treatment and will continue to do so for the remainder of his life.

                                            COUNT XI
                                      LOSS OF CONSORTIUM

          261.    Plaintiff Ethel Bamburak incorporates in this Count by reference all prior Counts of

this complaint.

          262.    At all times relevant, Plaintiff Ethel Bamburak was and still is the marital spouse of

Plaintiff Stephen Bamburak.

          263.    As a direct and proximate result of the defective and unreasonably dangerous

condition of Defendants’ Paraquat products, Plaintiff Ethel Bamburak has been deprived and is

reasonably certain to be deprived in the future of the services, society, sexual relationship, and

companionship with her husband.

                                       PRAYER FOR RELIEF

          264.    As a result of the foregoing, Plaintiff respectfully requests that this Court enter

judgment in the Plaintiff’s favor and against Defendants, jointly and severally, for compensatory

damages, costs, pre- and post-judgment interest, and attorneys’ fees, severally for punitive damages,

and for such further relief to which he may show himself to be entitled.

                                   DEMAND FOR JURY TRIAL

          265.    Pursuant to FED. R. CIV. P. 38(b), Plaintiff respectfully demands a jury trial on all

issues triable by jury.

Dated: April 9, 2024                                    Respectfully Submitted,

                                                        /s/ Roopal P. Luhana, Esq.
                                                        Roopal P. Luhana, Esq.
                                                        NY Bar No. 4127841
                                                        Eric T. Chaffin, Esq.
                                                        NY Bar No. 4148136
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